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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA



 CAROLYN WRIGHT, DEBBRA KENNEDY,                      Court File No. 0:18-CV-01062-
 SHERRY BAILEY BRANNEN, SHAUNA                                  WMW-SER
 MATELSKI, LOIS MASON, CANDACE
 NORRIS, MAURICE JOSE ORNELAS,                         Judge: Wilhelmina M. Wright
 JACQUELINE CARTER, and GEOFFREY
 GOLDSTEIN, individually and on behalf all
 others similarly situated,                          DEFENDANTS’ MOTION TO
                                                     DISMISS FIRST AMENDED
                      Plaintiffs,                         COMPLAINT

 vs.

 CAPELLA EDUCATION COMPANY and
 CAPELLA UNIVERSITY, INC.,

                      Defendants.


        Pursuant to Rule 8, 9(b), and 12(b)(6) of the Federal Rules of Civil Procedure,

Defendants Capella Education Company and Capella University, Inc. hereby move for an

ordering dismissing Plaintiffs’ First Amended Complaint with prejudice for the reasons set

forth in Defendants’ Memorandum of Law in Support of Motion to Dismiss First Amended

Complaint, filed contemporaneously with this motion.
    CASE 0:18-cv-01062-WMW-SER Document 38 Filed 09/24/18 Page 2 of 2



Dated:   September 24, 2018      KIRKLAND & ELLIS LLP

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